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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

E.N. BISSO & SON, INC., et al.               *            CIVIL ACTION NO. 2:19-cv-14765
                                             *
                            Plaintiffs,      *            SECTION “D”
                                             *
      VERSUS                                 *            DIVISION “3”
                                             *
M/V BOUCHARD GIRLS, her tackle, furniture,   *            JUDGE WENDY B. VITTER
apparel, appurtenances, etc. in rem &        *
BOUCHARD TRANSPORTATION CO., INC. in *                    MAGISTRATE DANA DOUGLAS
personam,                                    *
                                             *
                                             *
                            Defendants.      *
                                             *
********************************************

                  EX PARTE MOTION AUTHORIZING THE ISSUANCE
                   OF WARRANT FOR RULE C MARITIME ARREST

        NOW INTO COURT, through undersigned counsel, comes Wells Fargo Bank, N.A.

(“Wells Fargo”), which hereby requests that this Honorable Court review its previously filed

Verified Complaint in Intervention (the “Verified Complaint”) with leave of Court on April 20,

2020 (ECF 41) and supporting papers filed herein, and authorize the issuance of a warrant of

vessel arrest by the Clerk of the United States District Court for the Eastern District of Louisiana

to arrest the M/V BOUCHARD GIRLS, (Official No. 955450), and the Barge B NO. 295

(Official Number 955449), their engines, tackle, apparel, boilers, equipment and

appurtenances, etc. (collectively, the “Vessels”) as soon as practicable, and to detain the

same in custody until further order of this Court.

        As more fully detailed in Wells Fargo’s Verified Complaint, Wells Fargo holds first

preferred mortgages (the “Mortgages”) over the Vessels dated February 5, 2015, which were

recorded with the National Vessel Documentation Center on February 9, 2015 at Batch No.



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25350400, Doc. ID No. 7 for the Bouchard Girls Mortgage and at Batch 25350400, Doc. Id No.

6 for the Barge B NO. 295 Mortgage. The Mortgages were filed with the United States Coast

Guard, National Vessel Documentation Center, on February 5, 2015. A true and correct copy of

the Mortgages and their corresponding abstracts of title are attached, respectively, as Exhibits 4

and 5 (ECF 41-5 and ECF 41-6) and Exhibits 6 and 7 (ECF 41-7 and ECF 41-8) to the Verified

Complaint. A Verification attesting to the amount owed by Bouchard Transportation Co., Inc.,

secured by the Mortgage is also included in the Verified Complaint.

       WHEREFORE, Wells Fargo Bank, N.A. respectfully requests that this Court enter an

Order directing clerk of court to issue a warrant for the arrest of the M/V BOUCHARD GIRLS

and Barge B NO. 295.

                                         Respectfully submitted,

                                         /s/ Benjamin O. Schupp
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing was e-filed with

the Clerk of the Court and electronically served on all counsel of record via the Court’s ECF E-

Filing Service System on this 20th day of May, 2020.

                                            /s/ Benjamin O. Schupp
                                            BENJAMIN O. SCHUPP
